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                             IN THE UNITED STATES DISTRICT COURT
                             FOR THE SOUTHERN DISTRICT OF TEXAS
                                    CORPUS CHRISTI DIVISION

PORT OF CORPUS CHRISTI                                §
AUTHORITY OF NUECES COUNTY,                           §
TEXAS,                                                §
                                                      §
         Plaintiff                                    §        Civil Action No. 2:22-cv-00030
                                                      §
         v.                                           §
                                                      §
THE PORT OF CORPUS CHRISTI, LP                        §
and KENNETH BERRY,                                    §
                                                      §
         Defendants                                   §



                     PLAINTIFF’S EMERGENCY MOTION FOR REMAND


         Plaintiff Port of Corpus Christi Authority of Nueces County, Texas (“Plaintiff” or “the Port

Authority”) hereby moves to remand the above-captioned case, following removal by Defendants

The Port of Corpus Christi, LP (“The Port LP”) 1 and Kenneth Berry (“Defendant Berry” and,

collectively, “Defendants”).

I.       INTRODUCTION

         In Texas state court, Plaintiff asserted a claim for trespass under Texas common law,

alleging that Defendant Berry’s business operations are causing materials and substances to

accumulate on Plaintiff’s land. This is a classic state-law dispute that does not require resolution

of any federal law issues.




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 After this lawsuit was filed, The Port of Corpus Christi, LP changed its name registered with the Texas Secretary of
State to The Port of Texas, LP. However, the named party to this suit remains The Port of Corpus Christi, LP.
Additionally, Plaintiff’s Complaint alleges that The Port of Corpus Christi, LP continues to use that name despite the
formal name change.
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         In a transparent effort to avoid a temporary restraining order (“TRO”), Defendants removed

this case approximately 90 minutes before a hearing on the TRO was scheduled to begin in state

court. Defendants’ gamesmanship is all the more striking considering they took the opposite

position on federal jurisdiction—and prevailed—in a similar case between these parties in 2019.

Because there is no basis for federal jurisdiction, and Defendants removed solely to delay the

hearing on Plaintiff’s TRO application, Plaintiff has also filed an Emergency Motion for Expedited

Consideration of its Motion to Remand. See Dkt. 16. Plaintiff requests that the Court grant both

motions and remand this case.

II.      FACTUAL AND PROCEDURAL BACKGROUND

         The history of litigation between these parties is lengthy and complex, including several

separate cases filed over the past five years. Below, Plaintiff summarizes only the facts relevant to

resolution of its Motion to Remand.

      A. The Parties’ Current Dispute

         On April 27, 2018, the Port Authority filed suit against The Port LP in County Court at

Law No. 4 of Nueces County, Texas, asserting claims for dilution under the Texas Business and

Commerce Code and service mark infringement under Texas common law. Following several

years of litigation, which focused primarily on counter-claims asserted by the Defendant, Plaintiff

filed a Second Amended Petition on February 11, 2022 (hereinafter the “Complaint” or “Compl.”).

Ex. A (2/11/2022 Complaint). In the Complaint, Plaintiff asserted claims against The Port LP and

Defendant Berry for dilution, infringement, and falsely implying governmental affiliation in

violation of a new provision of the Texas Civil Practice and Remedies Code. See id. ¶¶ 10-41, 55-

100. Defendants contend only that these claims are “trivial” if not moot and do not dispute that




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these claims, and the related request for injunctive relief, arise under state law and do not implicate

any federal questions. See Dkt. 1 (Notice of Removal) ¶¶ 53-55.

       In the February 11, 2022 Complaint, Plaintiff also asserted a new claim for trespass under

Texas common law. See Compl. ¶¶ 42-54, 101-117. The Complaint alleges that Defendant Berry

operates a Dredge Material Placement Area (“DMPA”) on land known as Berry Island, directly

adjacent to submerged land owned by Plaintiff. Id. ¶¶ 43-46. As a result of dredge placement

activities, Defendant Berry has caused and will continue to cause materials and substances to settle

on Plaintiff’s submerged land without Plaintiff’s authorization or consent. Id. ¶¶ 46, 48, 51-53.

These are not allegations of de minimis harm: Recent photographic evidence demonstrates that in

some areas, materials have accumulated to the point that sandbars and a new island have formed

above the low-tide waterline. Id. ¶ 48. As relief, Plaintiff seeks damages, including the cost of

restoring its property, as well as an injunction prohibiting Defendant Berry from causing the

discharge of any materials or substances from Berry Island that settle onto Plaintiff’s submerged

land. Id. ¶¶ 106, 108, 115.

       The Complaint specifically notes that the trespass claim does not challenge Defendants’

compliance with any permit and exists “regardless” of such compliance:

               Plaintiff’s claim is not challenging whether Defendant Berry, and/or
               a party contracting with Defendant Berry, are complying with
               applicable state-issued permits. Regardless of compliance with a
               TCEQ, USACE, or other permit (which Plaintiff does not concede),
               the dredge placement activities on Berry Island have in the past
               resulted, and in the future are practically certain to result, in
               suspended solids and other materials encroaching upon Plaintiff’s
               submerged land.

Id. ¶ 50 (emphasis added). This is the Complaint’s sole reference to the state and federal permits

required to operate the DMPA. Nothing in the Complaint challenges the adequacy of the federal

permitting scheme or Defendants’ compliance with it. No part of the Complaint mentions federal
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law, much less the Rivers and Harbors Act or the Clean Water Act on which Defendants base their

Notice of Removal. Instead, the Complaint alleges that regardless of whether Defendants’ dredge

placement activities adhere to all federal laws and regulations, they cause an actionable trespass

under state tort law. See id.; see also, e.g., FPL Farming Ltd. v. Env’t Processing Sys., L.C., 351

S.W.3d 306, 311 (Tex. 2011) (holding that a permit “does not act to immunize the permit holder

from civil tort liability”).

    B. The “Good Hope” Case

        On January 15, 2019, The Port LP and another entity, 361 Holdings, LLC, filed suit against

the Port Authority and its CEO, Sean Strawbridge, in the 156th Judicial District Court in San

Patricio, Texas. There, the parties’ positions were essentially reversed: The Port LP alleged that

the Port Authority operated a DMPA on land known as the Good Hope Site and that the Port

Authority’s activities threatened adjacent land owned by The Port LP. See Ex. B (2/8/2019 Good

Hope Order) at 2-3 (Tagle, J.).

        The Port Authority and Mr. Strawbridge removed the case to the United States District

Court for the Southern District of Texas, Corpus Christi Division, and The Port LP moved to

remand. Id. at 3. The Port Authority’s basis for invoking federal jurisdiction was far stronger than

the Port LP’s basis here: In the Good Hope case, The Port LP “allege[d] several times in their

complaint that Defendants violated ‘federal law’ and failed to obtain the necessary permit from

the United States Army Corps of Engineers.” Id. at 5. The Port LP also raised issues regarding “the

transfer of the Navy’s rights to discharge dredged material to the Port Authority.” Id. at 6.

        Nevertheless, The Port LP argued that the federal court lacked jurisdiction, refuting many

of the same arguments it now raises, and the Court agreed. Among other things, the Court held

that even the explicit allegations of federal law violations in The Port LP’s complaint were


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insufficient to support federal question jurisdiction. Id. (citing Davis v. Eagle Oil & Gas Co., No.

W-08-CA-107, 2008 WL 11334171, at *2 (W.D. Tex. Oct. 10, 2008)). The Court further held that

“[t]he presence of a disputed federal issue,” namely, whether the Port Authority was required to

obtain a federal permit, was not “necessarily dispositive.” Id. (quoting Grable & Sons Metal

Prods., Inc. v. Darue Eng’g & Mfg., 545 U.S. 308, 314 (2005)). Because The Port LP’s complaint

“simultaneously rel[ied] on alleged violations of city, state, and federal laws,” and federal law was

not the “exclusive basis” asserted for liability, no federal jurisdiction existed. Id. at 7 (collecting

cases). For these reasons, the Court concluded that The Port LP’s claims did not “fall into the

‘special and small category’ of cases in which Plaintiffs’ state law claims arise under federal law.”

Id. (quoting Gunn v. Minton, 568 U.S. 251, 258 (2013)). The Court therefore remanded the suit to

state court. Id. at 8.

III.    APPLICABLE LEGAL STANDARDS

        On a motion to remand, “[t]he party seeking to remove bears the burden of showing that

federal jurisdiction exists and that removal was proper.” Scarlott v. Nissan N. Am., Inc., 771 F.3d

883, 887 (5th Cir. 2014) (quoting Mumfrey v. CVS Pharmacy, Inc., 719 F.3d 392, 397 (5th Cir.

2013)). This is a heavy burden, as “there is a presumption against subject matter jurisdiction that

must be rebutted by the party bringing an action to federal court.” Coury v. Prot, 85 F.3d 244, 248

(5th Cir. 1996). Additionally, because “removal raises significant federalism concerns,” “any

doubt as to the propriety of removal should be resolved in favor of remand.” Valencia v. Allstate

Tex. Lloyd’s, 976 F.3d 593, 595 (5th Cir. 2020) (quoting Gutierrez v. Flores, 543 F.3d 248, 251

(5th Cir. 2008)); see also, e.g., Scarlott, 771 F.3d at 887 (“Any ambiguities are construed against

removal and in favor of remand to state court.” (quoting Mumfrey, 719 F.3d at 397)).




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       To invoke federal question jurisdiction, removing defendants must prove that “a federal

question appears on the face of the plaintiff’s well-pleaded complaint.” Settlement Funding, L.L.C.

v. Rapid Settlements, Ltd., 851 F.3d 530, 535 (5th Cir. 2017) (quoting Elam v. Kan. City S. Ry.

Co., 635 F.3d 796, 803 (5th Cir. 2011)). This burden is satisfied only when the “complaint

establishes either that federal law creates the cause of action or that the plaintiff’s right to relief

necessarily depends on resolution of a substantial question of federal law.” Empire Healthchoice

Assur., Inc. v. McVeigh, 547 U.S. 677, 690 (2006) (quoting Franchise Tax Bd. of Cal. v. Constr.

Laborers Vacation Tr. for S. Cal., 463 U.S. 1, 27-28 (1983)). In the latter scenario, it is well settled

that “the mere presence of a federal issue in a state cause of action does not automatically confer

federal-question jurisdiction.” Singh v. Duane Morris LLP, 538 F.3d 334, 338 (5th Cir. 2008)

(quoting Merrell Dow Pharms. Inc. v. Thompson, 478 U.S. 804, 813 (1986)). Rather, federal

jurisdiction is limited to “a special and small category of cases” in which the federal issue at stake

is “(1) necessarily raised, (2) actually disputed, (3) substantial, and (4) capable of resolution in

federal court without disrupting the federal-state balance approved by Congress.” Gunn v. Minton,

568 U.S. 251, 258 (2013) (citation omitted).

       In addition, “[a] plaintiff is the master of his complaint and may allege only state law causes

of action, even when federal remedies might also exist.” Hood ex rel. Miss. v. JP Morgan Chase

& Co., 737 F.3d 78, 89 (5th Cir. 2013) (quoting Elam, 635 F.3d at 803). “[A] defendant cannot,

merely by injecting a federal question into an action that asserts what is plainly a state-law claim,

transform the action into one arising under federal law, thereby selecting the forum in which the

claim shall be litigated.” Id. (quoting Caterpillar Inc. v. Williams, 482 U.S. 386, 399 (1987)). “[I]t

is the character of the action and not the defense which determines whether there is federal question




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jurisdiction.” Thurston Motor Lines, Inc. v. Jordan K. Rand, Ltd., 460 U.S. 533, 535 (1983) (citing

Pub. Serv. Comm’n of Utah v. Wycoff Co., 344 U.S. 237, 238 (1952)).

IV.      ARGUMENT

         There is no dispute that Plaintiff’s trespass claim arises under Texas state law and is not a

federal cause of action. Rather, Defendants present a scattershot of theories to attempt to invoke

federal jurisdiction: First, Defendants contend that Plaintiff’s right to relief under Texas state

trespass law necessarily depends on resolution of substantial questions of federal law. Specifically,

Defendants claim that the Complaint implicates the federal permitting scheme for DMPAs in

various ways and relates to the federal Rivers and Harbors Act and Clean Water Act. Second,

Defendants assert that the Army Corps has exclusive jurisdiction to prosecute a DMPA permit

violation, which completely preempts the field. Third, Defendants argue that this Court has

removal jurisdiction because the Complaint asserts maritime claims. All of these arguments rely

on mischaracterizations of the Complaint and cases cited in the Notice of Removal. None comes

close to satisfying Defendants’ burden of proving federal jurisdiction.

      A. Plaintiff’s Right to Relief Does Not Depend on Federal Law

         Under Texas law, trespass has three elements: “(1) entry (2) onto the property of another

(3) without the property owner’s consent or authorization.” Env’t Processing Sys., L.C. v. FPL

Farming Ltd., 457 S.W.3d 414, 419 (Tex. 2015). None of these elements “necessarily raise[s]” a

“substantial” and “disputed” issue of federal law. Gunn, 568 U.S. at 258. Instead, as pleaded in the

Complaint, these elements involve straightforward factual questions, namely: (1) whether the

Defendants’ dredge placement activities have caused and will cause materials and substances to

settle on land that does not belong to them, see Compl. ¶¶ 46, 48, 51-53, (2) whether the land in




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question belongs to the Plaintiff, see id. ¶¶ 43-44, and (3) whether Plaintiff consented to or

authorized any such entry, see id. ¶ 53.

       The Notice of Removal raises several convoluted arguments in an attempt to establish a

connection between Plaintiff’s trespass claim and federal law. None of these arguments identifies

a proper basis for federal jurisdiction.

       First, Defendants’ reliance on the Fifth Circuit’s decision in Board of Commissioners v.

Tennessee Gas Pipeline Co. is misplaced. See Notice of Removal ¶¶ 6-10, 35, 46. There, the

plaintiff brought several state-law claims for negligence and nuisance based on dredging activities

conducted by a group of 97 defendants. See Bd. of Comm’rs v. Tenn. Gas Pipeline Co., 850 F.3d

714, 720 (5th Cir. 2017). Contrary to Defendants’ claim, the Fifth Circuit did not find federal

jurisdiction simply because the underlying dredge activities were “subject to an extensive federal

permitting scheme.” See Notice of Removal ¶ 7. Instead, federal jurisdiction existed because “the

Board’s complaint dr[ew] on federal law as the exclusive basis for holding [d]efendants liable[.]”

Bd. of Comm’rs, 850 F.3d at 722 (emphasis added). Because there was an “absence of any state

law grounding for the duty the Board would need to establish for the defendant to be liable,” the

applicable “duty [had] to be drawn from federal law.” Id. at 723. As such, the Board’s state-law

negligence and nuisance claims “c[ould] not be resolved without a determination whether multiple

federal statutes create a duty of care that does not otherwise exist under state law.” Id.

       None of the factors supporting federal jurisdiction in Board of Commissioners is present

here. While federal law served as the “exclusive basis” for the defendant’s duty—and thus,

liability—in Board of Commissioners, id. at 722 (emphasis added), Defendants’ liability in this

case is based exclusively on Texas law. The Port Authority’s trespass claim does not rely on any

violation of federal law to establish Defendants’ duty; that duty arises solely under state law. And

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as discussed further below, Defendant Berry’s liability for trespassing on Plaintiff’s property is

not dependent upon, or preempted by, permits issued by the Army Corps.

       The Fifth Circuit and its district courts have consistently rejected similar attempts to

remove based on Board of Commissioners. See, e.g., Par. of Plaquemines v. Chevron USA, Inc.,

7 F.4th 362, 375 (5th Cir. 2021) (distinguishing Board of Commissioners because the plaintiffs

“explicitly disclaim[ed] any reliance on federal law”); Valles v. Bayou Place, L.P., No. 4:19-CV-

01725, 2019 WL 7666694, at *6-7 (S.D. Tex. Dec. 19, 2019) (distinguishing Board of

Commissioners because the plaintiff “did not specifically reference or even hint at the applicability

of any federal statute”), report and recommendation adopted, No. 4:19-CV-01725, 2020 WL

374862 (S.D. Tex. Jan. 21, 2020); Alexander v. Woodlands Land Dev. Co. L.P., 325 F. Supp. 3d

786, 795 (S.D. Tex. 2018) (distinguishing Board of Commissioners and reasoning that “[b]ecause

the underlying duty exists under state law, state law controls whether Defendant’s actions were

negligent or grossly negligent”); Stutes v. Gulfport Energy Corp., No. 6:16-CV-01253, 2017 WL

4286846, at *15 (W.D. La. June 30, 2017) (finding no federal jurisdiction because “[u]nlike Board

of Commissioners, [p]laintiff’s state-law claims do not raise a federal issue”), report and

recommendation adopted, No. CV 6:16-1253, 2017 WL 4274353 (W.D. La. Sept. 26, 2017).

       Second, Defendants argue that the trespass claim cannot be resolved without determining

whether they obtained and complied with all requisite federal permits. See Notice of Removal at

¶¶ 6-8 (contending that the DMPA is subject to an “extensive federal permitting scheme”). But the

Complaint expressly notes that “Plaintiff’s claim is not challenging” Defendants’ compliance with

any permits, and the trespass exists “[r]egardless of compliance with a TCEQ, USACE, or other

permit.” Compl. ¶ 50. And Texas courts have specifically rejected Defendants’ contention that

compliance with a permit immunizes the permitholder from civil tort claims such as common-law

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trespass. See, e.g., FPL Farming, 351 S.W.3d at 311 (Tex. 2011) (“As a general rule, a permit

granted by an agency does not act to immunize the permit holder from civil tort liability from

private parties for actions arising out of the use of the permit.”); id. at 312 (rejecting argument that

“a permit could eradicate a trespass claim against a permit holder”); Manchester Terminal Corp.

v. Tex. TX TX Marine Transp., Inc., 781 S.W.2d 646, 650 (Tex. App.—Houston [1st Dist.] 1989,

writ denied) (“Even if a commercial enterprise holds a valid statutory permit to conduct a particular

business, the manner in which it performs the activity may give rise to an action for injunctive

relief or damages.”); cf. Magnolia Petroleum Co. v. R.R. Comm’n, 141 Tex. 96, 100 (1943) (“The

permit may thus be perfectly valid, so far as the conservation laws are concerned, and yet the

permittee’s right to drill under it may depend upon his establishing title in a suit at law.”). As the

Texas Supreme Court has put it, “a permit is not a get out of tort free card.” FPL Farming, 351

S.W.3d at 311.

        Defendants emphasize—in bold, underlined, red font—an alleged requirement in a recent

Army Corps permit that “[a]ll dredged material will be placed on Berry Island.” Notice of Removal

¶ 34. But the terms of any such permit have nothing to do with any element of Plaintiff’s claim for

trespass. Those terms have no bearing on the resolution of where, as a factual matter, Defendants’

dredge materials have been going after placement and are therefore likely to go in the future, nor

is the Army Corps’ approval of Defendants’ activities relevant to the question whether Plaintiff

authorized Defendants to discharge materials and substances onto Plaintiff’s land. See FPL

Farming, 351 S.W.3d at 311 (“[O]btaining a permit simply means that the government’s concerns

and interests, at the time, have been addressed[.]”). Again, the Complaint alleges that

“[r]egardless” of whether Defendants have obtained and complied with all applicable permits, they

are still committing trespass. See Compl. ¶ 50.

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        At most, Defendants appear to preview that permit compliance may form part of their

defense. See, e.g., Notice of Removal ¶ 11(a)(i) (“[T]he Army Corps has permitted the very

conduct about which Plaintiff complains[.]”); id. ¶¶ 22-28, 30 (discussing the thoroughness of the

Army Corps’ permitting process and Defendants’ receipt of “numerous permits”); id. ¶ 31 (arguing

that Defendants’ DMPA has been operating “precisely as intended by the Corps and permitted so

to do”); id. ¶ 35 (“Plaintiff’s quarrel is not truly with the Defendants. Rather it is with the Army

Corps, who pursuant to its extensive permitting process, approved the activities about which

Plaintiff complains.”). However, it is well settled that a federal-law defense does not create federal

jurisdiction: “[I]t is the character of the action and not the defense which determines whether there

is federal question jurisdiction.” Thurston Motor Lines, 460 U.S. at 535 (citation omitted); accord

Hood, 737 F.3d 78 at 89 (holding that a defendant cannot “inject[] a federal question” into a suit

based on state-law claims and thereby “select[] the forum”) (citation omitted). Thus, none of

Defendants’ arguments about their compliance with the federal permitting scheme establishes a

basis for federal jurisdiction.

        Third, Defendants argue that the Complaint is a “collateral attack on the entire Army Corps

permitting regimen.” Notice of Removal ¶ 9. That is incorrect. Plaintiff has not sued the Army

Corps. The Complaint does not allege that the Army Corps’ permitting process is deficient, either

in general or with respect to Defendants’ DMPA. Nor does the Complaint allege that any permits

were improperly issued, should have had different terms, or should protect Plaintiff’s land. No part

of the parties’ dispute turns on the propriety of the Army Corps’ permitting process or the terms

of any permits it issued.

        Fourth, Defendants contend that the relief Plaintiff seeks depends on a federal law issue

because dredge placement activities “cannot be changed” or “abandoned” without the Army

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Corps’ approval. Id. ¶ 35. The Notice of Removal fails to cite any evidence or authority to support

this claim, and it is plainly untrue. Even assuming that any such requirements could be found in

Defendants’ permits, they would establish a floor, not a ceiling—they would not prohibit

Defendants from implementing additional safeguards to prevent materials and substances from

settling on Plaintiff’s land. See FPL Farming, 351 S.W.3d at 311 (holding that a party may be “in

compliance” with applicable regulations and still liable in tort). Likewise, a permit merely grants

“permission” to operate, id. ¶ 34; it creates no obligation for Defendant Berry to continue his

dredge placement activities. See FPL Farming, 351 S.W.3d at 310-11 (“A permit removes the

government imposed barrier to the particular activity requiring a permit.”).

       Defendants also cite Board of Commissioners to claim federal jurisdiction exists because

Plaintiff seeks damages for the costs to restore its property. See Notice of Removal ¶ 11(a)(iv).

Once again, Board of Commissioners is inapplicable. There, the claim arose under federal law, in

part because the requested remedy “could not be required under any state-law based conception of

negligence.” Bd. of Comm’rs, 850 F.3d at 722. Here, however, the requested relief is simply that

Defendants cover the costs to restore Plaintiff’s property to its condition prior to the trespass. See

Compl. ¶ 106. Under Texas law, the damages for a trespass claim are “ordinarily the cost and

expense of restoring the land to its former condition.” Vaughn v. Drennon, 372 S.W.3d 726, 738

(Tex. App.—Tyler 2012, no pet.); see also Coinmach Corp. v. Aspenwood Apartment Corp., 417

S.W.3d 909, 921 (Tex. 2013) (holding that trespass damages “generally includ[e] the cost to repair

any damages to the property”). Plaintiff’s request that Defendants pay for the damage caused by

their trespass is consistent with, and in fact required by, Texas state law. Moreover, the Notice of

Removal makes no attempt to explain how payment or receipt of money damages would require

action in navigable waters or be subject to the Army Corps’ approval.

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        Fifth, citing Chambers-Liberty Counties Navigation District v. State, Defendants go so far

as to suggest that Plaintiff has no property rights at all in the affected land, and thus “there is no

conceivable way a federal court exercising jurisdiction here could ‘open up the floodgates’ for

state claims of others” being removed. Notice of Removal ¶ 40. Setting aside the illogic of

Defendants’ reasoning, this overreach is, of course, incorrect. Under Texas law, submerged land

patented to navigation districts under Article 8225—like the land at issue here—is owned by

navigation districts in fee simple. See, e.g., Tex. Parks & Wildlife Dep’t v. Champlin Petroleum

Co., 616 S.W.2d 668, 672 (Tex. Civ. App.—Corpus Christi 1981, writ ref’d n.r.e.) (“We hold that

the Navigation District owns a fee simple title (except minerals) to the lands described in the

subject patents.”); Natland Corp. v. Baker’s Port, Inc., 865 S.W.2d 52, 62 (Tex. App.—Corpus

Christi 1993, writ denied) (“The statute intends to pass a clear title in fee simple (except minerals)

to the navigation district.”).

        Nor does the Chambers decision impact Plaintiff’s property rights in the submerged lands

such that Plaintiff’s right to relief would depend on a violation of federal law. In Chambers, a lease

issued by a navigation district for the specific purpose of oyster farming was found to violate the

“extensive regulations” issued by the Department of Parks and Wildlife, which had “authority

under Texas law to regulate the conservation and harvesting of oysters.” Chambers-Liberty Ctys.

Navigation Dist. v. State, 575 S.W.3d 339, 353 (Tex. 2019). That a navigation district cannot use

or lease its land in a manner that would violate Texas law provides no support for Defendants’

novel claim that Plaintiff wholly lacks any property rights in the submerged land. Indeed, in

Chambers, the Texas Supreme Court specifically stated that the navigation district’s “general

authority to acquire and lease land is not in dispute.” Id. at 351.




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        Finally, the Notice of Removal contains several vague references to the Rivers and Harbors

Act and the Clean Water Act. See Notice of Removal ¶¶ 7, 13, 21, 28, 35. But the Defendants do

not identify how any part of Plaintiff’s trespass claim relies on or relates to either of these statutes.

Even if proving a violation of these laws would somehow establish liability for trespass—which it

would not—determination of any such question is not necessary to resolution of the trespass claim

because that claim can be resolved solely on the state-law bases alleged in the Complaint. See

Davis v. Eagle Oil & Gas Co., No. W-08-CA-107, 2008 WL 11334171, at *3 (W.D. Tex. Oct. 10,

2008) (“A determination of any [federal] question is therefore not necessary to the resolution of

the breach of contract claim, since the claim could be resolved solely on the basis of the failure to

pay royalties or one of the other alleged contractual bases.”).

        In effect, Defendants contend that federal jurisdiction must exist because their business

holds federal permits and is subject to federal law. This attenuated connection is precisely why

courts hold that “[n]ot every state-law claim that implicates federal law triggers federal-question

jurisdiction.” Arnold v. Bradley, No. 4:08-CV-170-Y, 2008 WL 11350052, at *5 (N.D. Tex. July

25, 2008) (citing Grable, 545 U.S. at 314). If the mere presence of a federally regulated party were

sufficient to establish jurisdiction, federal courts would be flooded with routine state-law tort

claims—including, for example, trespass and nuisance claims against energy companies,

malpractice claims against health care providers, product liability claims against cosmetics

manufacturers, and breach of contract claims against financial institutions. Thus, contrary to

Defendants’ assurances, see Notice of Removal ¶¶ 37, 40, adopting their theory would indeed

tremendously disrupt the “federal-state balance” of cases. Gunn, 568 U.S. at 258. Because

Defendants cannot point to any question of federal law that is “(1) necessarily raised, (2) actually




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disputed, (3) substantial, and (4) capable of resolution in federal court without disrupting the

federal-state balance approved by Congress,” federal jurisdiction does not exist. Id.

    B. Plaintiff’s Claim Is Not Preempted by Federal Law

         Perhaps recognizing that Plaintiff’s trespass claim does not raise any issue of federal law,

Defendants next contend that “the Army Corps has exclusive jurisdiction” over dredge placement

activities, “completely preempting the field.” Notice of Removal ¶ 15; see also id. ¶¶ 11(a)(ii), 14,

21-22, 31 (arguing that the Army Corps has “exclusive” authority over the navigable waters of the

Corpus Christi Ship Channel and Defendants’ DMPA). Defendants cite no caselaw in support of

their preemption theory, which is flatly refuted by Supreme Court and Fifth Circuit authority.

         To establish federal removal jurisdiction based on preemption, Defendants must prove

complete preemption. Johnson v. Baylor Univ., 214 F.3d 630, 632 (5th Cir. 2000) (“Complete

preemption, which creates federal removal jurisdiction, differs from more common ordinary

preemption, which does not.”). 2 The doctrine of complete preemption serves to attack an artful

pleading by “recharacteriz[ing] an asserted state-law claim as in fact a claim arising exclusively

under federal law.” Vaden v. Discover Bank, 556 U.S. 49, 61 & n.12 (2009) (citing 14B Wright &

Miller § 3722.1). Complete preemption applies when a federal statute “so forcibly and completely

displaces state law that the plaintiff’s cause of action is either wholly federal or nothing at all.”

Elam v. Kansas City S. Ry. Co., 635 F.3d 796, 803 (5th Cir. 2011) (quoting New Orleans & Gulf


2
  The Notice of Removal could also be construed as invoking field preemption, meaning “Congress has legislated
comprehensively to occupy an entire field of regulation, leaving no room for the States to supplement federal law,”
Hughes v. Talen Energy Mktg., LLC, 578 U.S. 150, 163 (2016) (citation omitted). However, field preemption and
other forms of “ordinary preemption” are affirmative defenses that do not provide a basis for removal. See, e.g.,
Caterpillar, 482 U.S. at 393 (“The fact that a defendant might ultimately prove that a plaintiff’s claims are preempted
under [a federal statute] does not establish that they are removable to federal court.”) (alteration in original); Ellis v.
Liberty Life Assur. Co. of Bos., 394 F.3d 262, 276 (5th Cir. 2004) (“Conflict preemption does not allow removal to
federal court but is an affirmative defense against claims that are not completely preempted….”); Carter v. Cent. Reg’l
W. Virginia Airport Auth., No. 2:15-CV-13155, 2016 WL 4005932, at *17 (S.D.W. Va. July 25, 2016) (“The Supreme
Court has clarified, repeatedly, that the defensive theories–conflict and field preemption –may not serve as bases for
removal.”) (collecting cases).
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Coast Ry. Co. v. Barrois, 533 F.3d 321, 330 (5th Cir. 2008)); see also, e.g., Hart v. Bayer Corp.,

199 F.3d 239, 244 (5th Cir. 2000) (Defendants must show that “Congress intended not just to

preempt a state law to some degree, but to altogether substitute a federal cause of action for a state

cause of action.”).

        Under the Fifth Circuit’s test for complete preemption, a defendant must demonstrate that:

                (1) the statute contains a civil enforcement provision that creates a
                cause of action that both replaces and protects the analogous area of
                state law; (2) there is a specific jurisdictional grant to the federal
                courts for enforcement of that right; and (3) there is a clear
                Congressional intent that claims brought under the federal law be
                removable.

Bellfort Enters. Inc. v. PetroTex Fuels Inc., 339 F. App’x 416, 418-19 (5th Cir. 2009) (quoting

Gutierrez v. Flores, 543 F.3d 248, 252 (5th Cir. 2008)). This form of preemption is “extraordinary”

and “a narrow exception to the well-pleaded complaint rule.” Elam, 635 F.3d at 803 (citations

omitted); see also, e.g., Bill Johnson’s Restaurants, Inc. v. N.L.R.B., 461 U.S. 731, 752 (1983)

(Brennan, J., concurring) (“[C]omplete preemption is not lightly implied.”).

        The Notice of Removal fails to even identify a relevant federal cause of action. It focuses

entirely on the Army Corps’ authority, with no analysis of the supposed preemptive effect on

Plaintiff’s trespass claim. See Notice of Removal ¶ 13 (alleging that Section 404 of the Clean

Water Act and related regulations give the Army Corps “complete control” over dredge-related

activities); id. ¶ 21 (alleging that the Rivers and Harbors Act grants the Army Corps “exclusive

authority” to regulate and control all facets of dredge placement activities). Defendants certainly

have not demonstrated that (1) either the Clean Water Act or the Rivers and Harbors Act creates a

cause of action to protect property interests from trespasses, (2) either statute creates federal

jurisdiction for the purpose of enforcing private property rights, or (3) Congress clearly intended

for claims like Plaintiff’s to be subject to federal jurisdiction.
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         In any event, the Supreme Court has specifically held that the Clean Water Act does not

preempt state common-law causes of action like Plaintiff’s claim for trespass. See Int’l Paper Co.

v. Ouellette, 479 U.S. 481, 497 (1987). In International Paper, the Court addressed a state-law

nuisance claim based on allegations that a New York company discharged pollutants into Lake

Champlain that ultimately landed on private property in Vermont. Id. at 483-84. The plaintiffs

sought both damages and injunctive relief. Id. at 484. While noting that Congress had created a

“detailed” federal permit program, the Court held that the Act’s “savings clause negates the

inference that Congress ‘left no room’ for state causes of action.” Id. at 489, 492. Because the

savings clause “specifically preserves other state actions,” “nothing in the Act bars aggrieved

individuals from bringing a nuisance claim pursuant to the law of the source State.” Id. at 497; see

also id. at 500 (Brennan, J., concurring) (“I concur wholeheartedly in the Court’s judgment that

the Clean Water Act … does not pre-empt a private nuisance suit….”). 3 In a more recent suit for

common-law negligence, the Supreme Court affirmed that there is “no clear indication of

congressional intent to occupy the entire field of pollution remedies,” so the Clean Water Act “does

not displace compensatory remedies for consequences of water pollution.” Exxon Shipping Co. v.

Baker, 554 U.S. 471, 489 (2008).

         This authority forecloses Defendants’ argument that the Clean Water Act (or regulations

based upon it) completely preempts Plaintiff’s claim for trespass. Courts have likewise held that

the “plain language” of the Rivers and Harbors Act “does not even hint at a Congressional intent

to preempt” state-law trespass claims. Hollingsworth v. Richardson, No. 3:08-CV-01613-CLS,



3
  The Clean Water act contains two savings clauses: One states that “[n]othing in this section [providing for citizen
suits] shall restrict any right which any person (or class of persons) may have under any statute or common law to
seek enforcement of any effluent standard or limitation or to seek any other relief.” 33 U.S.C. § 1365 (emphasis
added). The other preserves the states’ right to adopt or enforce more stringent pollution regulations, as well as the
states’ jurisdiction over their own waters. Id. § 1370.
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2008 WL 11422614, at *5 (N.D. Ala. Sept. 26, 2008). Because Defendants have not shown that

federal law “completely displaces state law,” their theory of federal preemption cannot establish

federal jurisdiction. Elam, 635 F.3d at 803.

    C. Removal Based on an Alleged General Maritime Claim Cannot Stand

        The Court need not reach the fact-intensive question of whether this case qualifies as a

“general maritime claim” because even if it does, that would not provide a valid basis for removal.

It is well accepted that maritime cases filed in state court cannot be removed to federal court unless

an independent basis for federal jurisdiction exists. While federal courts have original jurisdiction

over maritime claims under 28 U.S.C. § 1333, they do not have removal jurisdiction over maritime

cases brought in state court. See Barker v. Hercules Offshore, Inc., 713 F.3d 208, 219 (5th Cir.

2013). Instead, such lawsuits are exempt from removal by the “saving-to-suitors” clause of the

jurisdictional statute governing admiralty claims and therefore may only be removed when original

jurisdiction is based on another jurisdictional grant, such as diversity of citizenship. See id.

        Nothing in the Federal Courts Jurisdiction and Venue Clarification Act of 2011 changed

this well-established rule. In arguing that the 2011 amendment eliminated the requirement of an

independent jurisdictional basis to remove maritime claims, Defendants cite two cases: Ryan v.

Hercules Offshore, Inc., 945 F. Supp. 2d 772 (S.D. Tex. 2013) (Miller, J.) and Wells v. Abe’s Boat

Rentals Inc., No. H–13–1112, 2013 WL 3110322 (S.D. Tex. 2013) (Rosenthal, J). But in the nine

years since Ryan and Abe’s Boat Rentals were decided, the vast majority of courts in the Southern

District of Texas have adopted the opposite view. 4 Indeed, this is the majority view in the country.


4
 See, e.g., Harrison v. Crowley Mar. Corp., 181 F. Supp. 3d 441, 444 (S.D. Tex. 2016); Waddell v. Edison Chouest
Offshore, 93 F. Supp. 3d 714, 720-21 (S.D. Tex. 2015); Jimenez v. U.S. Envtl. Servs., LLC, No. 3:14-CV-0246, 2015
WL 4692850, at *1-4 (S.D. Tex. Aug. 6, 2015); Ritchey v. Kirby Corp., No. 3:14-CV-0272, 2015 WL 4657548, at *1-
4 (S.D. Tex. Aug. 5, 2015); Clear Lake Marine Ctr., Inc. v. Leidolf, No. H-14-3567, 2015 WL 1876338, at *1-2 (S.D.
Tex. Apr. 22, 2015); Parker v. U.S. Envtl Servs., LLC, No. 3:14-CV-292, 2014 WL 7338850, at *2-6 (S.D. Tex. Dec.
19, 2014); Rutherford v. Breathwite Marine Contrs., Ltd., 59 F. Supp. 3d 809, 812-13 (S.D. Tex. 2014); Rogers v.
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See Michael F. Sturley, Removal into Admiralty: The Removal of State-Court Maritime Cases to

Federal Court, 46 J. Mar. L. & Com. 105, 121 (2015) (“‘[T]he majority view [is] that general

maritime claims are not removable, despite the changes to 28 U.S.C. § 1441.’ . . . The emerging

majority view is also ‘the correct view.’”).

        It is also the view of this Court. In Figueroa v. Marine Inspection Services, LLC, this Court

expressly rejected the Ryan Court’s reasoning and reaffirmed that general maritime claims are not

removable absent some other independent basis for federal jurisdiction, explaining:

                 The key to the treatment of maritime cases involving saving to
                 suitors claims lies in 28 U.S.C. § 1441(a)—predicate eligibility. To
                 be eligible for removal, a case must fall within the “original
                 jurisdiction” of the federal courts .... While the district courts
                 generally have “original jurisdiction” over admiralty or maritime
                 cases, the saving to suitors clause exempts from that “original
                 jurisdiction” “all other remedies to which [suitors] are otherwise
                 entitled.” 28 U.S.C. § 1333(1). Any remedy, such as a right to a jury
                 trial, that does not fall within the traditional admiralty or maritime
                 jurisdiction thus is not subject to “original jurisdiction” as defined
                 by § 1333. If it is not subject to “original jurisdiction,” it is not
                 removable under § 1441. The amendment to § 1441(b) did not
                 address the “original jurisdiction” requirement.

28 F. Supp. 3d 677, 680 (S.D. Tex. 2014) (Ramos, J.) (emphasis added). This Court held that while

it would have had original jurisdiction over the action had the plaintiff filed it in federal court,

“‘original jurisdiction’ evaporated when he filed his action in state court, making [the case]

nonremovable on the basis of admiralty jurisdiction.” Id.

        Even the authors of the Ryan and Abe’s Boat Rentals opinions have subsequently

reconsidered their holdings. Judge Gray Miller—the presiding judge in the Ryan case—later

reversed course and ruled that the saving-to-suitors clause prevents removal of maritime cases


BBC Chartering Am., LLC, No. 4:13-CV-3741, 2014 WL 819400, at *1 (S.D. Tex. Mar. 3, 2014); Alexander v. Seago
Consulting, LLC, No. 4:14-CV-1292, 2014 WL 2960419, at *1 (S.D. Tex. 2014); Mims v. Deepwater Corrosion
Servs., Inc., 90 F. Supp. 3d 679, 691-692 (S.D. Tex. 2015); Cormier v. Chet Morrison Contractors, 85 F. Supp. 3d
880, 883 (S.D. Tex. 2015).
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absent an independent basis of jurisdiction. In Sanders v. Cambrian Consultants (CC) America,

Inc., Judge Miller explained that when he considered Ryan, caselaw and legal commentary had not

yet addressed how the amendment to the removal statute affected admiralty claims in light of

historical precedent or the saving-to-suitors clause. See 132 F. Supp. 3d 853, 858 (S.D. Tex. 2015).

In departing from his holding in Ryan, Judge Miller cited Gregoire v. Enterprise Marine Services,

LLC, 38 F. Supp. 3d 749 (E.D. La. 2014), as providing “a convincing argument why the

amendments to the removal statute do not impact the historical bar on removal of maritime claims

filed at law in state court.” Sanders, 132 F. Supp. 3d at 858; see also Belanger v. McDermott Int’l,

Inc., No. H-19-1591, 2019 WL 5595452, at *2 (S.D. Tex. Oct. 30, 2019) (Miller, J.); Jackson v.

Am. Bureau of Shipping, No. H-20-109, 2020 WL 1743541, *2 (S.D. Tex. 2020) (Miller, J.).

       Likewise, Chief Judge Rosenthal—the presiding judge in Abe’s Boat Rentals—has since

rejected the holding of that case. In Pelagidis v. Future Care, Inc., Judge Rosenthal discussed the

strong trend against the holding of Ryan, as well as the Fifth Circuit’s mandate to strictly construe

the removal statute and resolve any doubts as to the propriety of removal in favor of remand, and

concluded that “removal based on the general maritime-law claims cannot stand.” No. H-17-

3798, 2018 WL 2221838, at *4-8 (S.D. Tex. May 15, 2018) (emphasis added); see also Ibarra v.

Port of Houston Auth. of Harris Cnty., 526 F. Supp. 3d 202, 214-16 (S.D. Tex. 2021) (Rosenthal,

J.) (same).

       Here, Defendants have failed to establish an independent basis for federal jurisdiction.

Absent an independent basis for jurisdiction, general maritime claims are not removable, despite

the changes to 28 U.S.C. § 1441. The suit should therefore be remanded.

V.     CONCLUSION

       For these reasons, Plaintiff respectfully requests that its Motion for Remand be granted.


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DATED: February 18, 2022

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                              CERTIFICATE OF SERVICE

        I hereby certify that on February 18, 2022, a copy of the foregoing Motion to Remand
 was served on all counsel of record by operation of the CM/ECF filing system.

                                                    /s/ Caitlin Halpern
                                                         Caitlin Halpern




                           CERTIFICATE OF CONFERENCE

      I hereby certify that on February 17, 2022, I conferred via email with counsel for
Defendants regarding the relief requested herein. Counsel advised that Defendants oppose this
Motion to Remand.

                                                  /s/ Ashley Kleber
                                                  Ashley Kleber




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